                                                                                                           Save As                  Clear Form
                        Case: 23-2366                Document: 7                   Filed: 07/13/2023               Pages: 3
                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

                    23-2366
Appellate Court No: _______________

               K.C., et al. v. Individual Members of the Medical Licensing Board of Indiana, et al.
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
intervenor or a private attorney representing a government party, must furnish a disclosure statement providing the following information
in compliance with Circuit Rule 26.1 and Fed. R. App. P. 26.1.

   The Court prefers that the disclosure statements be filed immediately following docketing; but, the disclosure statement must be filed
within 21 days of docketing or upon the filing of a motion, response, petition, or answer in this court, whichever occurs first. Attorneys are
required to file an amended statement to reflect any material changes in the required information. The text of the statement must also be
included in the front of the table of contents of the party’s main brief. Counsel is required to complete the entire statement and to use
N/A for any information that is not applicable if this form is used.

          [     ]   PLEASE CHECK HERE IF ANY INFORMATION ON THIS FORM IS NEW OR REVISED AND
                    INDICATE WHICH INFORMATION IS NEW OR REVISED.

(1)       The full name of every party that the attorney represents in the case (if the party is a corporation, you must provide the corporate disclosure
          information required by Fed. R. App. P. 26.1 by completing item #3):
           See attached sheet
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(2)       The names of all law firms whose partners or associates have appeared for the party in the case (including proceedings in the district court or
          before an administrative agency) or are expected to appear for the party in this court:
          ________________________________________________________________________________________________________

          ________________________________________________________________________________________________________

(3)       If the party, amicus or intervenor is a corporation:

          i)        Identify all its parent corporations, if any; and

                    ________________________________________________________________________________________________

          ii)       list any publicly held company that owns 10% or more of the party’s, amicus’ or intervenor’s stock:

                    ________________________________________________________________________________________________

(4)       Provide information required by FRAP 26.1(b) – Organizational Victims in Criminal Cases:

          ________________________________________________________________________________________________________

(5)       Provide Debtor information required by FRAP 26.1 (c) 1 & 2:

          ________________________________________________________________________________________________________



                      /s/ Melinda R. Holmes
Attorney’s Signature: ________________________________________       July 13, 2023
                                                               Date: ________________________________________

                         Melinda R. Holmes
Attorney’s Printed Name: __________________________________________________________________________________

Please indicate if you are Counsel of Record for the above listed parties pursuant to Circuit Rule 3(d).                  ✔
                                                                                                           Yes _____ No _____

         IGC South, Fifth Floor, 302 West Washington Street, Indianapolis, IN 46204
Address: ______________________________________________________________________________________________

          ________________________________________________________________________________________________________

              (317) 232-6357
Phone Number: ________________________________________             (317) 232-7979
                                                       Fax Number: ______________________________________

                melinda.holmes@atg.in.gov
E-Mail Address: __________________________________________________________________________________________________
                                                                                                                                          rev. 12/19 AK
          Case: 23-2366        Document: 7             Filed: 07/13/2023       Pages: 3


         APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT
                          ATTACHED SHEET

Appellate Court No: 23-2366

Short Caption: K.C., et al. v. Individual Members of the Medical Licensing Board of Indiana, et
al.

   (1)     The full name of every party that the attorney represents in the case (if the party is a
           corporation, you must provide the corporate disclosure information required by Fed.
           R. App. P. 26.1 by completing item #3)

           The Individual Members of the Medical Licensing Board of Indiana, in their official
           capacities; Executive Director, Indiana Professional Licensing Agency, in her official
           capacity; Attorney General of the State of Indiana, in his official capacity; Secretary,
           Indiana Family and Social Services Administration, in her official capacity; Indiana
           Family and Social Services Administration.
         Case: 23-2366     Document: 7         Filed: 07/13/2023    Pages: 3


                          CERTIFICATE OF SERVICE

      I hereby certify that on July 13, 2023, I electronically filed the foregoing with

the Clerk of the Court for the United States Court of Appeals for the Seventh Circuit

by using the CM/ECF system. I certify that all participants in the case are registered

CM/ECF users and that service will be accomplished by the CM/ECF system.




                                              /s/ Melinda R. Holmes
                                              Melinda R. Holmes
                                              Deputy Attorney General



Office of the Indiana Attorney General
Indiana Government Center South, Fifth Floor
302 W. Washington Street
Indianapolis, IN 46204-2770
Telephone: (317) 232-6357
Facsimile: (317) 232-7979
Melinda.Holmes@atg.in.gov
